                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION - DETROIT

  IN RE:
                                                        CHAPTER 13
  Stanley M. Ferenc,                                    CASE NO. 19-40109-PJS
  Dynah N. Duncan-White,                                JUDGE PHILLIP J. SHEFFERLY
                              DEBTORS.
  _______________________________________/

       TRUSTEE'S OBJECTION TO THE DEBTORS' CLAIMED EXEMPTIONS

       NOW COMES the Chapter 13 Standing Trustee, David Wm. Ruskin, and objects to the
debtors' claimed exemptions, and in support thereof states as follows:

      1.      Based upon debtor’s spouse’s amended Schedule C, the debtor spouse has claimed
as exempt various property pursuant to 11 U.S.C. Section 522(d)(5) in the aggregate amount of
$2,100.00, however, based upon the debtor’s spouse’s claimed exemptions, the debtor spouse only
has $1,250.00 available in exemptions under 11 U.S.C. Section 522(d)(5). Accordingly, debtor’s
spouse’s claimed exemptions pursuant to 11 U.S.C. Section 522(d)(5) should be disallowed.

       WHEREFORE, the Chapter 13 Standing Trustee requests that this Honorable Court
disallow the debtors' claimed exemptions, and grant any further and other relief as this Court deems
equitable and just.

                              OFFICE OF DAVID WM. RUSKIN, STANDING
                              CHAPTER 13 TRUSTEE

  Dated: March 15, 2019          By: __/s/ Lisa K. Mullen__
                                 DAVID WM. RUSKIN (P26803)
                                 LISA K. MULLEN (P55478)
                                 THOMAS D. DECARLO (P65330)
                                 Attorneys for Chapter 13 Trustee, David Wm. Ruskin
                                 1100 Travelers Tower
                                 26555 Evergreen Road
                                 Southfield, MI 48076-4251
                                 Telephone (248) 352-7755




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                         UNITED STATES BANKRUPTCY COURT
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  IN RE:
                                                       CHAPTER 13
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                              DEBTORS.
  _______________________________________/

                ORDER SUSTAINING TRUSTEE'S OBJECTION TO THE
                       DEBTORS'CLAIMED EXEMPTIONS

        This matter came on for hearing upon an Objection to the debtors' Claimed Exemptions
filed by the Chapter 13 Standing Trustee pursuant to E.D. Mich. LBR 9014-1, a Notice of Trustee's
Objection to the debtors' Claimed Exemptions having been provided, and the records of the Court
reflecting that the relief requested herein is warranted and the Court being otherwise sufficiently
advised in the premises;

       IT IS HEREBY ORDERED that the debtors' spouse’s claimed exemptions in various
property pursuant to 11 U.S.C. Section 522(d)(5) are hereby disallowed.




                                           EXHIBIT 1




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                                                           UNITED STATES BANKRUPTCY COURT
                                                            EASTERN DISTRICT OF MICHIGAN
                                                             SOUTHERN DIVISION – DETROIT


    IN RE:
                                                                                              CHAPTER 13
    Stanley M. Ferenc,                                                                        CASE NO. 19-40109-PJS
    Dynah N. Duncan-White,                                                                    JUDGE PHILLIP J. SHEFFERLY
                                          DEBTORS.
    AKA or DBA (if any):
    Dynah N. Sufalko

    Address(es):
    2640 Raymond Drive
    Dearborn, MI 48124-0000

    2640 Raymond Drive
    Dearborn, MI 48124-0000

    Social Security Number(s):
    XXX-XX-6692       XXX-XX-1092

    Employer’s Tax Identification (EIN) No(s). (if any):
    _______________________________________/


                                NOTICE OF TRUSTEE'S OBJECTION TO THE DEBTORS' CLAIMED EXEMPTIONS


             The Chapter 13 Trustee has filed papers with the court to disallow the debtors' claimed exemptions.


             Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if you have one in this
bankruptcy case. (If you do not have an attorney, you may wish to consult with one.)


             If you do not want the court to deny the debtors' claimed exemption or if you want the court to consider your views on the debtors' exemptions,
within 14 days, you or your attorney must:


             1.            File with the court a written response or an answer, explaining your position at:1
                                                                 United States Bankruptcy Court
                                                                  211 W. Fort Street, Suite 2100
                                                                     Detroit, Michigan 48226
                           If you mail your response to the court for filing, you must mail it early enough so the court will receive it on or before the date stated
                           above.
                           You must also mail a copy to:
                                            OFFICE OF THE CHAPTER 13 STANDING TRUSTEE - DETROIT
                                                                ATTN: MOTION DEPARTMENT
                                                                       1100 Travelers Tower
                                                                      26555 Evergreen Road
                                                                    Southfield, MI 48076-4251


             2.            If a response or answer is timely filed and served, the clerk will schedule a hearing on the Trustee's Objection and you will be served
                           with a notice of the date, time and location of the hearing.


             If you or your attorney do not take these steps, the court may decide that you do not oppose the relief sought in the objection and may
enter an order granting that relief.

                                                    OFFICE OF DAVID WM. RUSKIN, STANDING
                                                    CHAPTER 13 TRUSTEE

    Dated: March 15, 2019                               By: __/s/ Lisa K. Mullen___
                                                        DAVID WM. RUSKIN (P26803)
                                                        LISA K. MULLEN (P55478)
                                                        THOMAS D. DECARLO (P65330)
                                                        Attorneys for Chapter 13 Trustee, David Wm. Ruskin
                                                        1100 Travelers Tower
                                                        26555 Evergreen Road
                                                        Southfield, MI 48076-4251
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                                                                             EXHIBIT 2




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             1
                 Response or answer must comply with F.R.Civ.P. 8(b), (c) and (e).
                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION - DETROIT

  IN RE:
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  Dynah N. Duncan-White,                            JUDGE PHILLIP J. SHEFFERLY
                              DEBTORS.
  _______________________________________/

                 BRIEF IN SUPPORT OF TRUSTEE'S OBJECTION TO
                     THE DEBTORS' CLAIMED EXEMPTIONS

       NOW COMES the Chapter 13 Standing Trustee, David Wm. Ruskin, and in support of
the Objection to the debtors' Claimed Exemptions relies on 11 U.S.C. 522 as authority for the
allowance of appropriate exemptions.



                            OFFICE OF DAVID WM. RUSKIN, STANDING
                            CHAPTER 13 TRUSTEE

  Dated: March 15, 2019        By: __/s/ Lisa K. Mullen_____
                               DAVID WM. RUSKIN (P26803)
                               LISA K. MULLEN (P55478)
                               THOMAS D. DECARLO (P65330)
                               Attorneys for Chapter 13 Trustee, David Wm. Ruskin
                               1100 Travelers Tower
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                               Southfield, MI 48076-4251
                               Telephone (248) 352-7755




                                        EXHIBIT 3



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  Dynah N. Duncan-White,                                JUDGE PHILLIP J. SHEFFERLY
                              DEBTORS.
  _______________________________________/

             CERTIFICATE OF SERVICE OF TRUSTEE'S OBJECTION TO
                     THE DEBTORS' CLAIMED EXEMPTIONS

       I hereby certify that on March 15, 2019, I electronically filed the Trustee’s Objection to the
debtors' Claimed Exemptions, Trustee’s Brief in Support, Notice of Trustee’s Objection to the
debtors' Claimed Exemptions and Certificate of Service with the Clerk of the Court using the ECF
system which will send notification of such filing to the following:
       The following parties were served electronically:
               BABUT LAW OFFICES PLLC
               700 TOWNER STREET
               YPSILANTI, MI 48198-0000

       The following parties were served via First Class Mail at the addresses below by depositing
same in a United States Postal Box with the lawful amount of postage affixed thereto:

               Stanley M. Ferenc
               Dynah N. Duncan-White
               2640 Raymond Drive
               Dearborn, MI 48124-0000


                              ________/s/ Vanessa Wild________
                              Vanessa Wild
                              For the Office of David Wm. Ruskin
                              Chapter 13 Standing Trustee-Detroit
                              1100 Travelers Tower
                              26555 Evergreen Road
                              Southfield, MI 48076-4251
                              (248) 352-7755

                                           EXHIBIT 4




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